                    Case 23-40826            Doc 1       Filed 04/25/23 Entered 04/25/23 13:00:22                              Desc Main
                                                           Document     Page 1 of 35

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MINNESOTA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Rockline Enterprises, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed           Rockline Drop Ship
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  14355 23rd Avenue North                                         12448 Fletcher Drive
                                  Plymouth, MN 55447                                              Rogers, MN 55374
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hennepin                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.rocklinedropship.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Rockline Enterprises, LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4581

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Rockline Enterprises, LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Rockline Enterprises, LLC                                                    Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                         $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                       $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Rockline Enterprises, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 25, 2023
                                                  MM / DD / YYYY


                             X   /s/ Joshua Lundorff                                                      Joshua Lundorff
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Matthew M. Tande                                                      Date April 25, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew M. Tande 388339
                                 Printed name

                                 Prescott Pearson & Tande, PA
                                 Firm name

                                 Po Box 120088
                                 New Brighton, MN 55112-0088
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (651) 633-2757                Email address


                                 388339 MN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Rockline Enterprises, LLC

United States Bankruptcy Court for the:     DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 25, 2023                  X /s/ Joshua Lundorff
                                                           Signature of individual signing on behalf of debtor

                                                            Joshua Lundorff
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 23-40826                            Doc 1               Filed 04/25/23 Entered 04/25/23 13:00:22                                                           Desc Main
                                                                                  Document     Page 7 of 35
 Fill in this information to identify the case:

 Debtor name            Rockline Enterprises, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           154,130.52

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           154,130.52


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           332,390.03


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             332,390.03




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Rockline Enterprises, LLC

United States Bankruptcy Court for the:      DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                                      $0.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Wells Fargo Bank Checking has a
          3.1.     negavie balance                                   Checking                              0077                                             $0.00




          3.2.     Wells Fargo Bank Savings $0.02                    Savings                               9401                                             $0.02




          3.3.     Paypal Account $0.00                              Paypal account                                                                         $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.02
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor           Rockline Enterprises, LLC                                                  Case number (If known)
                 Name

          Description, including name of holder of deposit


          7.1.     Security deposit with landlord of $5285                                                                                $5,285.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                             $5,285.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                           0.00     -                                   0.00 = ....                         $0.00
                                       face amount                            doubtful or uncollectible accounts




          11b. Over 90 days old:                        12,000.00      -                           12,000.00 =....                             $0.00
                                       face amount                            doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                                  $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used     Current value of
                                             physical inventory            debtor's interest         for current value         debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 2
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Debtor       Rockline Enterprises, LLC                                               Case number (If known)
             Name

          Clothing and
          accessories held for
          resale with a
          wholesale/cost value of
          $127,810.50.

          This is subject to two
          UCC liens, filed and held
          by Corporation Service
          Company as
          Representative.
          However, the UCC liens
          do not identify who CSC
          is representing or the
          amount of the liens.              3/27/2023                              $0.00       Recent cost                        $127,810.50



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                    $127,810.50
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used     Current value of
                                                                     debtor's interest         for current value         debtor's interest
                                                                     (Where available)

39.       Office furniture
          Pallet and storage racks in warehouse,
          shelving, tables, chairs, cabinets, desks, other
          miscellaneous furniture, laptops, printers,
          monitors, and other miscellaneous office and
          warehouse items                                                          $0.00       Liquidation                         $21,035.00



40.       Office fixtures

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                      page 3
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Debtor        Rockline Enterprises, LLC                                                      Case number (If known)
              Name

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           They had developed an app that was on
           Shopify. It was removed from Shopify and is
           sitting dormant on a computer somewhere.
           He doesn't believe this is a monetizable app.                                   $0.00                                               $0.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                             $21,035.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used     Current value of
                                                                          debtor's interest          for current value         debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.rocklinedropship.com;
           www.rocklineenterprises.com;
           www.rock-n-roll-wholesale.com                                                   $0.00                                               $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 4
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Debtor        Rockline Enterprises, LLC                                                    Case number (If known)
              Name

           This business primarily sold to other
           businesses. This business also drop shipped
           to customers through Ship Station Ship
           Station was the third-party app that collected
           and held individual customer information.
           This account is closing and Ship Station
           deletes personal information after a certain
           amount of time to maintain PCI compliance.                                    $0.00                                              $0.00



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
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Debtor          Rockline Enterprises, LLC                                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.02

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $5,285.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $127,810.50

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $21,035.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $154,130.52           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $154,130.52




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6
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Fill in this information to identify the case:

Debtor name         Rockline Enterprises, LLC

United States Bankruptcy Court for the:           DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      CORPORATION SERVICE
2.1                                                                                                                         Unknown               $127,810.50
      COMPANY,                                     Describe debtor's property that is subject to a lien
      Creditor's Name                              Clothing and accessories held for resale with
                                                   a wholesale/cost value of $127,810.50.

                                                   This is subject to two UCC liens, filed and
                                                   held by Corporation Service Company as
      AS REPRESENTATIVE                            Representative. However, the UCC liens do
      PO BOX 2576                                  not identify who CSC is re
      SPRINGFIELD, IL 62708
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. CORPORATION
      SERVICE COMPANY,
      2. CORPORATION
      SERVICE COMPANY,

      CORPORATION SERVICE
2.2                                                                                                                         Unknown               $127,810.50
      COMPANY,                                     Describe debtor's property that is subject to a lien
      Creditor's Name                              Clothing and accessories held for resale with
                                                   a wholesale/cost value of $127,810.50.

                                                   This is subject to two UCC liens, filed and
                                                   held by Corporation Service Company as
      AS REPRESENTATIVE                            Representative. However, the UCC liens do
      PO BOX 2576                                  not identify who CSC is re
      SPRINGFIELD, IL 62708

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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Debtor      Rockline Enterprises, LLC                                                             Case number (if known)
            Name

      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  $0.00

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
                Case 23-40826                 Doc 1          Filed 04/25/23 Entered 04/25/23 13:00:22                                      Desc Main
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Fill in this information to identify the case:

Debtor name        Rockline Enterprises, LLC

United States Bankruptcy Court for the:         DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          INTERNAL REVENUE SERVICE                             Check all that apply.
          CENTRALIZED INSOLVENCY OPS                              Contingent
          PO BOX 7346                                             Unliquidated
          PHILADELPHIA, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          MN DEPT OF REVENUE                                   Check all that apply.
          551 BKY SECTION CEU Dept                                Contingent
          PO BOX 64447                                            Unliquidated
          ST PAUL, MN 55164                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 4
                                                                                                               34853
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Debtor      Rockline Enterprises, LLC                                                       Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $25,198.65
         AMERICAN EXPRESS BUSINESS BLUE                               Contingent
         PO BOX 297858                                                Unliquidated
         FORT LAUDERDALE, FL 33329-7879                               Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    BUSINESS CREDIT CARD
         Last 4 digits of account number 1003
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $136,639.21
         AMERICAN EXPRESS BUSINESS GOLD                               Contingent
         PO BOX 60189                                                 Unliquidated
         CITY OF INDUSTRY, CA 91716-0189                              Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    BUSINESS CREDIT CARD
         Last 4 digits of account number 4000
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,905.03
         COLUMBIA BANK                                                Contingent
         PO BOX 6335                                                  Unliquidated
         FARGO, ND 58125-6335                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    BUSINESS CREDIT CARD
         Last 4 digits of account number   2495
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         FERNBROOK AB LLC                                             Contingent
         81 SOUTH 9TH STREET                                          Unliquidated
         SUITE 210                                                    Disputed
         MINNEAPOLIS, MN 55402
                                                                   Basis for the claim:    BUSINESS LEASE
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $22,473.15
         ODK CAPITAL, LLC                                             Contingent
         175 W. JACKSON BOULEVARD                                     Unliquidated
         SUITE 1000                                                   Disputed
         CHICAGO, IL 60604-6060
                                                                   Basis for the claim:    BUSINESS LINE OF CREDIT
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $20,515.72
         RAPID FINANCE                                                Contingent
         4500 EAST WEST HIGHWAY, 6TH FL                               Unliquidated
         BETHESDA, MD 20814                                           Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim:    BUSINESS LOAN
         Last 4 digits of account number 6655
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $30,600.00
         RAPID FINANCE                                                Contingent
         4500 EAST WEST HIGHWAY, 6TH FL                               Unliquidated
         BETHESDA, MD 20814                                           Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim:    BUSINESS LOAN
         Last 4 digits of account number 5307
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 4
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Debtor       Rockline Enterprises, LLC                                                              Case number (if known)
             Name

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $16,985.13
          WELLS FARGO BUSINESS CARD                                           Contingent
          PO BOX 29482                                                        Unliquidated
          PHOENIX, AZ 85038-8650                                              Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim:    BUSINESS CREDIT CARD
          Last 4 digits of account number 8768
                                                                           Is the claim subject to offset?         No     Yes

3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $72,073.14
          WELLS FARGO BUSINESSLINE                                            Contingent
          PO BOX 29482                                                        Unliquidated
          PHOENIX, AZ 85038-8650                                              Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim:    BUSINESS CREDIT CARD
          Last 4 digits of account number 7224
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       AMERICAN EXPRESS
          PO BOX 981535                                                                             Line     3.2
          EL PASO, TX 79998-1535
                                                                                                           Not listed. Explain

4.2       AMERICAN RECOVERY GROUP INC.
          555 ST. CHARLES DRIVE                                                                     Line     3.1
          SUITE 100
                                                                                                           Not listed. Explain
          THOUSAND OAKS, CA 91360

4.3       DORSEY & WHITNEY LLP
          MARK E HAMEL                                                                              Line     3.4
          50 SOUTH 6TH ST #1500
                                                                                                           Not listed. Explain
          MPLS, MN 55402

4.4       FERNBROOK AB LLC
          % THE 614 COMPANY                                                                         Line     3.4
          81 SOUTH 9TH ST
                                                                                                           Not listed. Explain
          MPLS, MN 55402

4.5       ODK CAPITAL, LLC
          1209 ORANGE STREET                                                                        Line     3.5
          WILMINGTON, DE 19801
                                                                                                           Not listed. Explain

4.6       ODK CAPITAL, LLC
          4700 W. DAYBREAK PARKWAY                                                                  Line     3.5
          SUITE 200
                                                                                                           Not listed. Explain
          SOUTH JORDAN, UT 84009


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                           0.00
5b. Total claims from Part 2                                                                           5b.    +     $                     332,390.03



Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4
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            Name


5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                          5c.     $              332,390.03




Official Form 206 E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                         Page 4 of 4
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Fill in this information to identify the case:

Debtor name       Rockline Enterprises, LLC

United States Bankruptcy Court for the:     DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            COMMERCIAL REAL
           lease is for and the nature of        ESTATE LEASE FOR
           the debtor's interest                 THE PREMISES OF
                                                 14355 23RD AVENUE
                                                 NORTH, PLYMOUTH,
                                                 MN 55447
               State the term remaining          APPROXIMATELY 48                   FERNBROOK AB LLC
                                                 MONTHS                             81 SOUTH 9TH STREET
           List the contract number of any                                          SUITE 210
                 government contract                                                MINNEAPOLIS, MN 55402




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Rockline Enterprises, LLC

United States Bankruptcy Court for the:    DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    JOSHUA M                    12448 FLETCHER DRIVE                                      FERNBROOK AB                       D
          LUNDORFF                    ROGERS, MN 55374                                          LLC                                E/F
                                                                                                                                   G   2.1




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Rockline Enterprises, LLC

United States Bankruptcy Court for the:    DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $146,406.53
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $1,119,096.31
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $1,506,959.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Rockline Enterprises, LLC                                                       Case number (if known)



      Creditor's Name and Address                               Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                    Check all that apply
      3.1.
              ODK CAPITAL, LLC                                  $1,188.11                        $20,692.99           Secured debt
              175 W. JACKSON BOULEVARD                          paid on the                                           Unsecured loan repayments
              SUITE 1000                                        following                                             Suppliers or vendors
              CHICAGO, IL 60604-6060                            dates:                                                Services
                                                                1/25/23,
                                                                02/01/2023,                                            Other Paid to MCA. Unsure if
                                                                2/8/23,                                             this MCA has a UCC lien
                                                                2/15/23,                                            recorded or not.
                                                                2/22/23,
                                                                3/1/23,
                                                                3/8/23,
                                                                3/15/23,
                                                                3/22/23
                                                                and $10,000
                                                                paid on
                                                                2/16/2023
      3.2.
              RAPID FINANCE                                     Rapid                            $16,200.00           Secured debt
              4500 EAST WEST HIGHWAY, 6TH FL                    Finance                                               Unsecured loan repayments
              BETHESDA, MD 20814                                Loan #1 paid                                          Suppliers or vendors
                                                                $1,800.00 on                                          Services
                                                                each of the
                                                                following                                              Other Paid to MCA. Unsure if
                                                                dates:                                              this MCA has a UCC lien
                                                                1/30/23,                                            recorded or not.
                                                                2/6/23,
                                                                2/13/23,
                                                                2/21/23,
                                                                2/27/23,
                                                                3/6/23,
                                                                3/13/23,
                                                                3/20/23,
                                                                3/27/23,
      3.3.
              RAPID FINANCE                                     Rapid                            $10,797.80           Secured debt
              4500 EAST WEST HIGHWAY, 6TH FL                    Finance                                               Unsecured loan repayments
              BETHESDA, MD 20814                                Loan #2.                                              Suppliers or vendors
                                                                Paid                                                  Services
                                                                $1,079.78 on
                                                                this loan to                                           Other Paid to MCA. Unsure if
                                                                Rapid                                               this MCA has a UCC lien
                                                                Finance on                                          recorded or not.
                                                                each of the
                                                                following
                                                                dates: 2/1/23,
                                                                2/6/23,
                                                                2/13/23,
                                                                2/21/23,
                                                                2/27/23,
                                                                3/6/23,
                                                                3/13/23,
                                                                3/20/23,
                                                                3/27/23,
                                                                4/10/23




Official Form 207                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 2
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Debtor      Rockline Enterprises, LLC                                                           Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
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Debtor        Rockline Enterprises, LLC                                                           Case number (if known)



      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Prescott Pearson & Tande,
                PA
                Po Box 120088                            Paid $338.00 court filing fee and $4,162.00
                New Brighton, MN 55112-0088              attorney fee for bankruptcy                                   3/2/2023                   $4,500.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                            Dates of occupancy
                                                                                                                   From-To
      14.1.     14192 Northdale Boulevard                                                                          2017 to 2022
                Rogers, MN 55374

Part 8:       Health Care Bankruptcies
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Debtor      Rockline Enterprises, LLC                                                            Case number (if known)




15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Their website has collected names, addresses, and email addresses
                 of customers.
                 Does the debtor have a privacy policy about that information?
                     No
                     Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    401k plan                                                                           EIN: Unknown

                    Has the plan been terminated?
                       No
                       Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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Debtor      Rockline Enterprises, LLC                                                            Case number (if known)




         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

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25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Joshua Lundorff                                                                                                    All relevant--he was
                    12448 Fletcher Drive                                                                                               the business owner
                    Rogers, MN 55374                                                                                                   and kept books and
                                                                                                                                       records
      26a.2.        Robson Taylor, LTD                                                                                                 2021 and 2022
                    3239 Fernbrook Lane North
                    Plymouth, MN 55447
      26a.3.        H&R Block                                                                                                          2010 through 2020
                                                                                                                                       tax returns


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Robson Taylor, LTD                                                                                                 2021-2022
                    3239 Fernbrook Lane North
                    Plymouth, MN 55447

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Joshua Lundorff
                    12448 Fletcher Drive
                    Rogers, MN 55374

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.



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Debtor       Rockline Enterprises, LLC                                                         Case number (if known)



              Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
              inventory                                                                                     or other basis) of each inventory
      27.1 Joshua Lundorff                                                                                  Merchandise inventory of $127,810.50
      .                                                                            3/27/2023                wholesale/cost basis

              Name and address of the person who has possession of
              inventory records
              Joshua Lundorff
              12448 Fletcher Drive
              Rogers, MN 55374


      27.2 Joshua Lundorff                                                                                  The business typically performed
      .                                                                                                     quarterly inventory counts, with the
                                                                                                            last reconciliation being performed in
                                                                                   Quarterly.               March 2022

              Name and address of the person who has possession of
              inventory records
              Joshua Lundorff
              12448 Fletcher Drive
              Rogers, MN 55374


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Joshua Lundorff                        12448 Fletcher Drive                                President and owner                     100%
                                             Rogers, MN 55374



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

              Name and address of recipient           Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                                          Salary and wages
      .                                                                                                                             for his work in
              Joshua Lundorff                                                                                                       managing and
              12448 Fletcher Drive                    Wages of $14,846.15 paid in 2023; Wages                                       operating the
              Rogers, MN 55374                        of $45,077.29 paid in 2022                                2022 and 2023       company.

              Relationship to debtor
              Owner and president


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?




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           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 25, 2023

/s/ Joshua Lundorff                                             Joshua Lundorff
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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LOCAL FORM 1007-1
REVISED 06/16
                                                        United States Bankruptcy Court
                                                                     District of Minnesota
 In re         Rockline Enterprises, LLC                                                                    Case No.
                                                                                   Debtor(s)                Chapter    7


                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named
debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
bankruptcy case is as follows:

For legal Services, I have agreed to accept ............................                     $   4,162.00
Prior to the filing of this statement I have received                     ..............     $   4,162.00
Balance Due ............................................................................     $   0.00


2.   The source of the compensation paid to me was:
           Debtor                               Other (specify)

3.   The source of the compensation to be paid to me is:
           Debtor                                 Other (specify)

4.      I have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

        I have agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law firm. A copy of the agreement, together with a list of the names of the people or entities sharing in
the compensation, is attached.

5.    In return for the above-disclosed fee, together with such further fee, if any, as is provided in the written contract
required by 11 U.S.C. §528(a)(1), I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a..Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
         petition in bankruptcy;

         b..   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

         c..Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
         thereof;

         d..   Representation of the debtor in contested bankruptcy matters; and

         e..   Other services reasonably necessary to represent the debtor(s).

6. Pursuant to Local Rules 1007-1 and 1007-3-1, I have advised the debtor of the requirements in the Statement of
Financial Affairs to disclose all payments made, or property transferred, by or on behalf of the debtor to any person,
including attorneys, for consultation concerning debt consolidation or reorganization, relief under bankruptcy law, or
preparation of a petition in bankruptcy. I have reviewed the debtor's disclosures and they are accurate and complete to the
best of my knowledge.

Addendum to item 3
If any unpaid balance remains due and payable under Section 1 of this statement, in a Chapter 7 case, the Debtor(s) will have
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LOCAL FORM 1007-1
REVISED 06/16
no obligation to pay that amount and the undersigned will not attempt to collect any of that unpaid balance from the
Debtor(s). A Third Party Guarantor has guaranteed payment of that unpaid balance.

Addendum to item 5
(f) This fee agreement also provides for negotiations with creditors on behalf of the Debtor(s).



                                                      CERTIFICATION

       I certify that the foregoing, together with the written contract required by 11 U.S.C. §528(a)(1), is a complete
statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy case.

Dated: April 25, 2023                                          Signature of Attorney
                                                               /s/ Matthew M. Tande
                                                               Matthew M. Tande 388339




                                                             Page2 of 2
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                                               United States Bankruptcy Court
                                                          District of Minnesota
 In re   Rockline Enterprises, LLC                                                                Case No.
                                                                     Debtor(s)                    Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     April 25, 2023                                 /s/ Joshua Lundorff
                                                         Joshua Lundorff/President
                                                         Signer/Title
AMERICAN EXPRESS
          Case 23-40826 Doc 1 FERNBROOK    AB LLC
                              Filed 04/25/23                      WELLS FARGO
                                              Entered 04/25/23 13:00:22        BUSINESSLINE
                                                                         Desc Main
PO BOX 981535                 81Document
                                 SOUTH 9TH Page
                                             STREET
                                                  34 of 35        PO BOX 29482
EL PASO TX 79998-1535         SUITE 210                           PHOENIX AZ 85038-8650
                              MINNEAPOLIS MN 55402
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AMERICAN EXPRESS BUSINESS BLUE
                             INTERNAL REVENUE SERVICE
PO BOX 297858                CENTRALIZED INSOLVENCY OPS
FORT LAUDERDALE FL 33329-7879PO BOX 7346
                             PHILADELPHIA PA 19101-7346


AMERICAN EXPRESS BUSINESS GOLD
                             JOSHUA M LUNDORFF
PO BOX 60189                 12448 FLETCHER DRIVE
CITY OF INDUSTRY CA 91716-0189
                             ROGERS MN 55374



AMERICAN RECOVERY GROUP INC. MN DEPT OF REVENUE
555 ST. CHARLES DRIVE        551 BKY SECTION CEU DEPT
SUITE 100                    PO BOX 64447
THOUSAND OAKS CA 91360       ST PAUL MN 55164


COLUMBIA BANK                   ODK CAPITAL, LLC
PO BOX 6335                     175 W. JACKSON BOULEVARD
FARGO ND 58125-6335             SUITE 1000
                                CHICAGO IL 60604-6060


CORPORATION SERVICE COMPANY, ODK CAPITAL, LLC
AS REPRESENTATIVE            1209 ORANGE STREET
PO BOX 2576                  WILMINGTON DE 19801
SPRINGFIELD IL 62708


CORPORATION SERVICE COMPANY,    ODK CAPITAL, LLC
AS REPRESENTATIVE               4700 W. DAYBREAK PARKWAY
PO BOX 2576                     SUITE 200
SPRINGFIELD IL 62708            SOUTH JORDAN UT 84009


DORSEY & WHITNEY LLP            RAPID FINANCE
MARK E HAMEL                    4500 EAST WEST HIGHWAY, 6TH FL
50 SOUTH 6TH ST #1500           BETHESDA MD 20814
MPLS MN 55402


FERNBROOK AB LLC                RAPID FINANCE
81 SOUTH 9TH STREET             4500 EAST WEST HIGHWAY, 6TH FL
SUITE 210                       BETHESDA MD 20814
MINNEAPOLIS MN 55402


FERNBROOK AB LLC                WELLS FARGO BUSINESS CARD
% THE 614 COMPANY               PO BOX 29482
81 SOUTH 9TH ST                 PHOENIX AZ 85038-8650
MPLS MN 55402
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                                          United States Bankruptcy Court
                                                    District of Minnesota
 In re   Rockline Enterprises, LLC                                                     Case No.
                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Rockline Enterprises, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 25, 2023                                   /s/ Matthew M. Tande
Date                                             Matthew M. Tande 388339
                                                 Signature of Attorney or Litigant
                                                 Counsel for Rockline Enterprises, LLC
                                                 Prescott Pearson & Tande, PA
                                                 Po Box 120088
                                                 New Brighton, MN 55112-0088
                                                 (651) 633-2757
